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UNITED STATES DISTRICT C()URT
SOUTHERN DISTRICT OF FLORIDA

MIAMl DIVISION
ROSA CABRERA and CASE NO. l:lé-CV-ZZOSZ-JAL
NELSON MARQUEZ,
Plaintiffs,

VS.

HIALEAH HOUSING AUTHORITY, INC.
THE CITY OF HIALEAH and RENE
GUTIERREZ,

Defendants.

STIPULATION AND NOTICE OF DISMISSAL WITH PREJUDICE

WHEREAS, Plaintiffs, Rosa Cabrera and Nelson Marquez, agree to voluntarily dismiss

this action With prejudice; and

WHEREAS, Plaintiffs and Defendants stipulate and agree that Defendants Shall retain the

right to seek costs and fees against Plaintiffs;

IT IS HEREBY STIPULATED AND AGREED among the parties that, pursuant to the
terms of Fed. R. Civ. P. 4l(a), this action shall be, and is, DISMISSED With prejudice, and that

Defendants shall retain the right to Seek costs and fees against Plaintiffs, Marquez and/or

Cabrera.

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Dated: April 251 2017

Respec.tfu|ly submitted,

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